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                                                       COURT                  ID#: 103
                                EASTERN DISTRICT OF KENTUCKY
                                        LONDON DIVISION                                                                 OCT 2 9 2018
                               CIVIL ACTION NO. 6: 18-CV-00226-GFVT                                                    AT lONDON
                                                                                                                    ROBERT R. CARR
                                                                                                                CLERK U.S. DISTRICT COURT
       In re: Hwy 1955, Red Hill, Livingston, KY 40445

       UNITED STATES OF AMERICA                                                                PLAINTIFF,

       VS:

       GLENDA JEAN SLUSHER,
       UNKNOWN SPOUSE OF GLENDA JEANE SLUSHER, and
       DANIEL BOONE DEVELOPMENT COUNCIL, INC.,                                                 DEFENDANTS.

                                                          ANSWER

       The Defendant, GLENDA JEANE SLUSHER, submits the following as her Answer to the
       Complaint by the Plaintiff, the UNITED STATES OF AMERICA:



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